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                                                              October 16, 2020

       Via ECF Only
                                                                      SO ORDERED.
       Honorable Loretta A. Preska
       United States District Judge
       United States District Court                                   Dated: October 16, 2020
       Southern District of New York                                         New York, New York
       500 Pearl Street
       New York, N.Y. 10007
               Re:      U.S. v. Francisco Tibulcio-Merino.,           _______________________________
                        Case No.: 18-cr-031 (LAP)
                                                                      LORETTA A. PRESKA, U.S.D.J.
       Your Honor:

               We write on behalf of Francisco Tibulcio-Merino, a defendant in the above-referenced
       case, and respectfully request permission from the Court for my client to travel to Florida with
       his family for 3 days. – from October 17th to October 20th. Mr. Tibulcio and his Family will
       be staying at the Westgate Town Center Resort ,7700 Westgate Blvd, Kissimmee, FL 34747.
               I have spoken with Francesca Tessier-Miller, from the U.S. Pre-Trial Services Office and
       she has no objection to this request. Likewise, Assistant United States Attorney Michael
       Longyear has no objection to this request.
               Mr. Tibulcio has provided flight and travel itinerary to Pre-Trial which confirm the
       details of his trip.
               Your consideration of this request is respectfully requested and appreciated.

                                                              Yours truly,
                                                              John Russo
                                                              John L. Russo (JR6200)
                                                              Attorney for Francisco Tibulcio Merino

       JLR:mn
       Cc: AUSA Michael Longyear
